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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF LOUISIANA
                             SHREVEPORT DIVISION

 UNITED STATES OF AMERICA                       CRIMINAL ACTION NO. 21-00015-02

 VERSUS                                         CHIEF JUDGE S. MAURICE HICKS, JR.

 EDUARDO LOZANO (02)                            MAGISTRATE JUDGE HORNSBY


                                          ORDER

          For the reasons assigned in the Report and Recommendation of the Magistrate Judge

  previously filed herein, and having thoroughly reviewed the record, including the written

  objections (Record Document 92) and response (Record Document 98) thereto filed, and

  concurring with the findings of the Magistrate Judge under the applicable law;

          IT IS ORDERED that Defendant’s Motion to Suppress (Record Document 64) is

  DENIED.

          THUS DONE AND SIGNED at Shreveport, Louisiana, this the 1st day of June,

  2021.



                                                _________________________________
                                                      S. MAURICE HICKS, JR.
                                                 UNITED STATES DISTRICT JUDGE
